                         UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA

 STEVEN FERDMAN                                     NOTICE OF DISMISSAL OF
                                                    CIVIL ACTION WITH
                           Plaintiff,               PREJUDICE (FRCP
                                                    41(a)(1)(A)(i))
                v.
                                                    Case No.: 5:18-cv-0355 (D)

 EPICSTREAM, LLC

                           Defendant.


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

Steven Ferdman, by and through his undersigned counsel, hereby gives notice that the

parties in above-captioned action have come to an amicable resolution and the action is

voluntarily dismissed, with prejudice, against Defendant Epicstream, LLC, each party to

bear its own costs, expenses and attorney’s fees.

Dated: Charlotte, NC
September 5, 2018                            Respectfully Submitted,

                                             /s/ Seth L Hudson
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